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                                               Exhibit 3

         Third-Party Plaintiff Signatories To The 2007 RI/FS and Amendments
   1.      Alliance Chemical Inc.
   2.      Arkema Inc.
   3.      Ashland LLC
   4.      BASF Corporation (on its own behalf and on behalf of BASF Catalysts LLC)
   5.      Benjamin Moore & Co.
   6.      Coats & Clark, Inc.
   7.      Conopco, Inc., d/b/a Unilever (as successor to CPC/Bestfoods, former parent of Penick
           Corporation)
   8.      Cooper Industries, LLC
   9.      Covanta Essex Company
   10.     CNA Holdings LLC (on behalf of itself and its affiliate Celanese Ltd. and the Essex
           County Improvement Authority, as indemnitor to Celanese Ltd. for former Celanese Ltd.
           operations located on or about 354 Doremus Ave., Newark, NJ)
   11.     DII Industries, LLC
   12.     E. I. du Pont de Nemours and Company
   13.     Eden Wood Corporation
   14.     Elan Chemical Company
   15.     EnPro Industries, Inc. (successor to Coltec Industries Inc.)
   16.     Essex Chemical Corporation
   17.     Franklin-Burlington Plastics, Inc.
   18.     Garfield Molding Company, Inc.
   19.     General Electric Company
   20.     Givaudan Fragrances Corporation
   21.     Goodrich Corporation on behalf of itself and for Kalama Specialty Chemicals, Inc.
   22.     The Hartz Consumer Group, Inc. as successor to certain liabilities of The Hartz Mountain
           Corporation
   23.     Hexcel Corporation
   24.     Hoffmann-LaRoche Inc.
   25.     ISP Chemicals LLC
   26.     L3Harris Technologies, Inc., successor in interest to Exelis Inc., successor in interest to
           the defense business of ITT Corporation
   27.     Leemilt’s Petroleum, Inc.
   28.     Legacy Vulcan, LLC (f/k/a Vulcan Materials Company)
   29.     National-Standard, LLC
   30.     The Newark Group, Inc.
   31.     Newell Rubbermaid Inc., on behalf of itself and its wholly-owned subsidiaries Goody
           Products, Inc. and Berol Corporation (as successor by merger to Faber-Castell
           Corporation)
   32.     Nokia of America Corporation (f/k/a Lucent Technologies)
   33.     Otis Elevator Company
   34.     Pharmacia LLC
   35.     PPG Industries, Inc.


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   36.   Public Service Electric & Gas Company
   37.   Purdue Pharma Technologies, Inc.
   38.   Quality Carriers, Inc.
   39.   Revere Smelting and Refining Corporation
   40.   Safety-Kleen Envirosystems Company, by McKesson Corporation, and McKesson Corp.
         for itself
   41.   Sequa Corporation
   42.   The Sherwin-Williams Company
   43.   Stanley Black & Decker, Inc. (f/k/a The Stanley Works)
   44.   STWB Inc.
   45.   Sun Chemical Corporation
   46.   Tate & Lyle Ingredients Americas, Inc. (f/k/a A.E. Staley Manufacturing Company,
         including its former division Staley Chemical Company)
   47.   Teval Corporation
   48.   Textron, Inc.
   49.   TFCF America, Inc. (f/k/a 21st Century Fox America, Inc.; f/k/a News Publishing
         Australia Ltd. (successor to Chris-Craft Industries))
   50.   Tiffany and Company
   51.   ViacomCBS Inc. (f/k/a CBS Corporation)




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